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MEMORANDUM OPINION

No. 04-09-00436-CR

Gerardo SANCHEZ,
Appellant

v.

The STATE of Texas,
Appellee

From the 399th Judicial District Court, Bexar County, Texas
Trial Court No. 2009-CR-1341
Honorable David A. Berchelmann, Jr., Judge Presiding

PER CURIAM
&nbsp;
Sitting: &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Phylis J. Speedlin, Justice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Rebecca Simmons, Justice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Steven C. Hilbig, Justice

Delivered and Filed: August 26, 2009

DISMISSED
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On August 7, 2009, this court issued an order stating this appeal would be dismissed pursuant
to Rule 25.2(d) unless an amended trial court certification that shows appellant has the right of
appeal was made part of the appellate record on or before September 8, 2009.  See Tex. R. App. P.
25.2(d), 37.1; see also Daniels v. State, 110 S.W.3d 174, 175-76 (Tex. App.—San Antonio 2003,
order).  Appellant’s counsel filed a response in which she states that she has reviewed the electronic
record and “can find no right of appeal for Appellant;” counsel concedes that the appeal must be
dismissed.  In light of the record presented, we agree with appellant’s counsel that Rule 25.2(d)
requires this court to dismiss this appeal.  Tex. R. App. P. 25.2(d).  The record does not contain a
certification that shows the defendant has the right of appeal; to the contrary, the trial court
certification in the record states “this criminal case is a plea-bargain case, and the defendant has NO
right of appeal.”  The clerk’s record contains a written plea bargain, and the punishment assessed did
not exceed the punishment recommended by the prosecutor and agreed to by the defendant;
therefore, the clerk’s record supports the trial court’s certification that defendant has no right of
appeal.  See Tex. R. App. P. 25.2(a)(2).  Accordingly, we dismiss the appeal.  See Tex. R. App. P.
25.2(d).
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM
DO NOT PUBLISH


